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APPENDIX IV. APPRAISER’S QUALIFICATIONS                                                        Prior to joining BDO, Evlon worked at KPMG LLP’s Economic and
                                                                                               Valuation Services practice in Chicago as well as in KPMG’s Department
                                                                                               of Professional Practice in New York. He most recently worked at Ernst
Evlon Charles
                                                                                               and Young LLP’s Transaction Advisory Services practice in Houston. He

Director                                                                                       has also worked within the commercial banking sector in the Caribbean
                                                                                               and in the United Kingdom.
EXPERIENCE SUMMARY
                                                                                               EDUCATION
Evlon Charles is a Director within the Valuation & Business Analytics
practice of BDO in Houston. He has over 10 years of professional                               B.Sc., Economics and Management, University of the West Indies

experience performing business valuations for both tax planning and                            MBA, Finance, Rice University - Jesse H. Jones Graduate School of

financial reporting purposes in accordance with United States Generally                        Business

Accepted Accounting Principles (GAAP). His valuation experience
includes      valuation       analyses      for    purchase   accounting,   goodwill
impairment, tax restructuring, acquisition pricing, as well as providing
strategic decision support related to transactions. Evlon has significant
experience valuing businesses, underlying intangible assets, liabilities,
financial instruments, including equity and debt interests.

Evlon has experience in the oil and gas industry, including valuations of
upstream oil and gas reserves and valuations within oilfield services,
engineering and construction, water and power utility segments. Evlon
also has significant experience with valuations within the financial
services sector including: the commercial banking, insurance and asset
management industries. Within the energy and financial services
sectors, Evlon has valued intangible assets including, but not limited to:
customer relationships, trade names and brands, internally developed
software, non-compete agreements, patents, core deposit intangibles,
distribution agreements, purchased credit card relationships and
indemnification assets. He has also valued financial instruments
including, but not limited to: loan portfolios, company debt, trust
preferred securities and FHLB Advances.




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Matthew Goldberg                                                                      Prior to joining BDO, Matthew worked in a Big Four Firm’s Transaction
                                                                                      Advisory Services Practice providing valuation services. His experience
Principal                                                                             includes   providing   consulting   services   for   buy-   and   sell-side
                                                                                      transactions, investment banking, pre-acquisition due diligence, and
EXPERIENCE SUMMARY                                                                    business interruption analyses.

Matthew Goldberg is a Principal in the Valuation and Business Analytics               EDUCATION
group of BDO and leads the group’s Financial Services, Complex
Financial Instruments, and Hard-to-Value Assets Practice. Having more                 M.B.A., Global Finance and French, Thunderbird School of Global
than 15 years of advisory and financial services experience, Matthew                  Management
brings his institutional experience when working with client to provide               B.S., Finance, Colorado State University
advisory services that achieve a range of business and strategic
objectives. In addition, to providing valuation services, his practice
provides model validation, risk management, and asset liability
management consulting services.

Matthew has extensive experience valuing a wide range of debt
products and complex financial instruments including contingent
consideration, cryptocurrency, adjustable stock options and warrants,
restricted stock units, performance-based shares, convertible debt
instruments, and other hedging instruments such as interest rate swaps
and put/call strategies.

He has been involved in numerous engagements including assisting
management in strategic planning, performing projects for financial
reporting and tax reporting, and providing advisory services related to
mergers and acquisitions.

Matthew has worked on numerous valuation assignments for purposes
of ASC 718 and ASC 805 intangible asset valuation and purchase price
allocations, ASC 350 goodwill impairment analyses, and international
tax valuations.




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Luis Llontop Barahona                                                                 PROFESSIONAL AFFILIATIONS

Senior Manager                                                                            Board Member of the American Society of Appraisers (ASA) – Miami
                                                                                          Chapter
EXPERIENCE SUMMARY                                                                        Member of the National Association of Forensic Economics
                                                                                          Member of the New England Business Council
Luis Barahona has diverse experience in the valuation of closely held                     Member of the Financial Planning Association of Miami – Dade
businesses and limited partnerships. He has performed valuation work                      Member of the Association of Latino Professionals in Finance and
for corporate planning, tax and estate planning and sales of business                     Accounting – Miami Chapter
interests in several industries, including healthcare, automotive,
manufacturing, technology and restaurants. He is a senior manager at                  EDUCATION
BDO and he is involved in managing business valuation engagement for
                                                                                      Mr. Barahona received his Master’s in business administration degree
diverse purposes, including financial reporting, estate tax planning
                                                                                      from the William E. Simon School of Business Administration – University
valuation and mergers and acquisitions. In addition, Mr. Barahona
                                                                                      of Rochester in 2002. He earned his bachelor’s degree in science and
assists the TAS team with due diligence engagements, including the
                                                                                      Engineering from the Pontifical Catholic University of Peru. Recent
preparation of Quality of Earnings Databooks.
                                                                                      seminars include the FICPA valuation conferences.

Previously, Mr. Barahona was the Head of Equity Research for a
prestigious Peruvian investment bank in Peru. In this position, he
performed business valuation for public companies in the Mining,
Brewing and Energy sectors. He was also involved in primary and
secondary offerings of equity and fixed income instruments in the
Peruvian Stock Market.


Mr. Barahona was a valuation manager at Jordan Castellon Ricardo P.L.
(“JCR”) His responsibilities included management, planning, execution
and review of engagements related to business valuation. He was
responsible for JCR’s in-house continuing education regarding business
valuation matters. Prior to joining JCR, Mr. Barahona was a supervisor
in charge of Business Valuations at Morrison, Brown, Argiz & Farra LLP
(“MBAF”). Prior to joining MBAF, Mr. Barahona was a Senior Associate
with Healthcare Appraisers, Inc. a specialized healthcare valuation
firm.




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Ben Tindall
Associate

EXPERIENCE SUMMARY

Ben Tindall is an Associate in the Houston office of BDO, supporting the
Valuation & Business Analytics practice. William’s business valuation
responsibilities include purchase price allocation, goodwill impairment,
business enterprise valuation, stock-option valuation, audit reviews of
third-party analyses and the valuation of various intangible assets (e.g.,
developed technology, trademark/trade names, etc.) utilizing various
forms of the income, market, and cost approaches.


EDUCATION

B.S., Finance, Louisiana State University




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APPENDIX V. ECONOMIC AND INDUSTRY                                                     The full economic effects of the COVID-19 pandemic cannot be

OVERVIEW                                                                              quantified in the GDP estimate for the third quarter because the
                                                                                      impacts are generally embedded in source data and cannot be
                                                                                      separately identified.
As part of our analysis, we considered economic factors that affect the
Company and its industry, including those influenced by the general                   The annualized GDP increase of 2.0 percent during the third quarter
performance and outlook for the overall U.S. economy.                                 of 2021 is below economists’ projections for growth of 3.1 percent (Wall
                                                                                      Street Journal Survey). GDP declined 3.4 percent during 2020,
                                                                                      compared to growth of 2.3 percent in 2019 and 2.9 percent in 2018.
Economic Overview5
                                                                                      Exports decreased 2.5 percent in the third quarter of 2021, compared
Gross Domestic Product
                                                                                      to a decrease of 2.9 percent in the first quarter and an increase of 7.6
                                                                                      percent in the second quarter of 2021. Durable goods expenditures
According to advance estimates released by the Department of
                                                                                      decreased 26.2 percent in the third quarter of 2021 following an
Commerce’s Bureau of Economic Analysis (the “BEA”), Real Gross
                                                                                      increase of 50.0 percent in the first quarter and an increase of 11.6
Domestic Product (“GDP”), the output of goods and services produced
                                                                                      percent in the second quarter.
by labor and property located in the United States, increased at an
annualized rate of 2.0 percent during the third quarter of 2021 after                 Economists expect GDP growth to continue into the next two quarters.
increasing at an annualized rate of 6.7 percent in the second quarter of              A survey of economists conducted by The Wall Street Journal reflects
2021. The increases in annualized GDP growth during the second and                    an average GDP forecast of 4.8 percent annualized growth in the fourth
third quarters of 2021 follow an increase of 4.5 percent in the fourth                quarter of 2021, followed by 4.2 percent annualized growth in the first
quarter of 2020 and an increase of 6.3 percent in the first quarter of                quarter of 2022.
2021. The following explanatory note regarding the increase in GDP
                                                                                      Economic Indicators
during the third quarter is excerpted from the BEA News Release dated
October 28, 2021:
                                                                                      The Conference Board (“TCB”) reported that the Leading Economic
The increase in third quarter GDP reflected the continued economic                    Index (“LEI”), the government’s primary forecasting gauge, increased
impact of the COVID-19 pandemic. A resurgence of COVID-19 cases                       0.2 percent in September, which follows increases of 0.9 percent and
resulted in new restrictions and delays in the reopening of                           0.8 percent in July and August, respectively. Over the six months ended
establishments in some parts of the country. Government assistance                    September 2021, the LEI increased 5.4 percent. Traditionally, the LEI is
payments in the form of forgivable loans to businesses, grants to state               thought to gauge economic activity six to nine months in advance.
and local governments, and social benefits to households all decreased.               Consecutive moves in the same direction are considered to be indicative


5 The National Economic Review, Q3 2021 by Mercer Capital.




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of the general direction of the economy. Traditionally, the LEI is                    2009 and lasted a record 128 months, as well as the beginning of a
thought to gauge economic activity six to nine months in advance.                     recession. According to the NBER, this recession lasted two months, as
Consecutive moves in the same direction are considered to be indicative               the U.S. economy began to recover from the initial shock of the
of the general direction of the economy.                                              coronavirus pandemic in April of 2020. This makes the 2020 recession
                                                                                      the shortest U.S. recession on record.
In response to the September reading, Ataman Ozyildirim, Senior
Director of Economic Research at TCB, commented: “The U.S. LEI rose                   The Congressional Budget Office (the “CBO”) announced an
again in September, though at a slower rate, suggesting the economy                   estimated $2.8 trillion budget deficit for fiscal 2021 (twelve months
remains on a more moderate growth trajectory compared to the first                    ended September 2021). This deficit was approximately $362 billion
half of the year.” He added, “The Delta variant, rising inflation fears,              less than the deficit during fiscal 2020. According to CBO estimates,
and supply chain disruptions are all creating headwinds for the US                    revenues in fiscal 2021 were approximately 18 percent higher than
economy. Despite the LEI’s slower growth in recent months, the                        in fiscal 2020 and outlays were 4 percent higher.
strengths among the components remain widespread. Indeed, The
                                                                                      For much of the past two years, the U.S. and China have been
Conference Board continues to forecast strong growth ahead: 5.7
                                                                                      embroiled in an ongoing trade dispute that was replete with
percent year-over-year for 2021 and 3.8 percent for 2022.” Six of the
                                                                                      contentious negotiations and the imposition of retaliatory tariffs.
LEI’s ten leading economic indicators increased during September 2021.
                                                                                      The U.S. and China signed an eight-part agreement comprising the
The following table shows the changes among the indicators sorted by
                                                                                      first phase of the trade deal on January 15, 2020, effectively placing
the greatest contributors to the monthly change.
                                                                                      a hold on the two-year trade war that caused turmoil in global
Historical Business Cycles and Fiscal Policy Overview                                 markets and hampered economic growth worldwide. While
                                                                                      significant progress was made with the signing of the phase one
The following table provides perspective concerning the National                      deal, issues such as possible tariff reductions, favorable Chinese
Bureau of Economic Research’s (“NBER”) business cycles dating from                    subsidies to domestic companies, and Beijing’s oversight of state-
the Great Depression to the present. (The contraction period measures                 owned firms would be left to further negotiations. Key components
from the peak to the trough. The expansion period measures from the                   of the phase one deal differed slightly from previously reported
previous trough to the peak.) June 2019 marked 120 months (ten years)                 terms and included the following:
of expansion since the June 2009 trough, matching the previous record
                                                                                               China will increase purchases of U.S. goods and services
for the longest period of economic expansion in U.S. history, which
                                                                                               (excluding agricultural products) by approximately $200 billion
occurred from March 1991 to March 2001. This expansion continued
                                                                                               over the next two-years, using 2017 as a benchmark. Key
another eight months before ending with the 4.8 percent contraction in
                                                                                               industries from which China will be purchasing goods include
GDP in the first quarter of 2020. The NBER determined that a peak in
                                                                                               technology and energy;
monthly economic activity occurred in the U.S. economy in February
2020. The peak marked the end of the expansion that began in June




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            China will additionally purchase $32 billion of U.S. agricultural                   The U.S. and China began their first high-level meetings under the Biden
            goods over the same two-year period;                                                administration in late March of 2021 in Anchorage, Alaska. The U.S.
                                                                                                delegation, led by Secretary of State Antony Blinken, billed the two-day
            Language further enabling U.S. businesses to initiate a criminal                    meeting as a chance for the U.S. and China to air divisive issues,
            investigation into the theft of trade secrets in China;                             deescalate their rivalry, and determine areas of cooperation. While no
                                                                                                substantive progress was made during the talks, this did represent the
            The removal of barriers on U.S. banking institutions to enable                      first in-person meeting between the two parties in nearly eight months.
            U.S. banks, insurers, and other financial services companies to                     Happening concurrently to these talks, Katherine Tai was confirmed as
            expand in the Chinese market;                                                       U.S. Trade Representative in a unanimous vote of the Senate on March
                                                                                                17, 2021. In an interview with The Wall Street Journal following her
            The creation of a dispute-resolution office aimed at fairly
                                                                                                confirmation, Ms. Tai indicated that the U.S. had no intention of lifting
            adjudicating disagreements between U.S. businesses and their
                                                                                                tariffs imposed on Chinese goods by the Trump administration in the
            Chinese partners;
                                                                                                near future. The second quarter of 2021 saw relatively little movement
                                                                                                in the ongoing trade dispute, though the two sides did meet virtually in
            The U.S. cut the previously imposed tariff rate from 15 percent
                                                                                                late May. These meetings consisted of little more than Ms. Tai
            to 7.5 percent on roughly $120 billion of Chinese products. The
                                                                                                reaffirming the Biden administration’s guiding principles as it pertains
            deal leaves those tariffs in place, but former President Trump
                                                                                                to the trade dispute and the Chinese delegation further calling on the
            signaled a possible removal of those tariffs in forthcoming
                                                                                                U.S. to roll back the remaining tariffs on Chinese imports. During the
            negotiations. The U.S. also canceled 15 percent tariffs on
                                                                                                third quarter of 2020, trade negotiations between the U.S. and China
            roughly $156 billion in Chinese consumer products that were
                                                                                                continued to stall, though business leaders did call on the Biden
            set to go into effect in December;
                                                                                                administration to resume talk and cut tariffs on imports in a letter to

            Chinese commitment to not devalue its currency or make                              Ms. Tai and Janet Yellen.

            persistent interventions in its currency market.
                                                                                                On March 11, 2020, the World Health Organization (“the WHO”)

Joe Biden was elected as the 46                th
                                                    President of the United States in           declared the outbreak of a novel coronavirus that originated in Wuhan,
November 2020. Following his election, President Biden’s specific plan                          Hubei Province, China to be a global pandemic. COVID-19 is considered

to continue trade negotiations with China was unclear, but President                            highly dangerous to vulnerable populations such as the elderly and/or

Biden signaled throughout his campaign that he would work with allies                           those   with    pre-existing   conditions   and   chronic   ailments   that

to push China to follow international trade rules and uphold the terms                          compromise the human immune system. The first case of the novel

of the agreement struck in January.                                                             coronavirus in the United States was confirmed in Washington state on
                                                                                                January 21, 2020. The spread of the virus and its highly contagious
                                                                                                nature became apparent in the U.S. and globally during the month of
                                                                                                February.      Beginning on February 24 and continuing through the




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following week, in the first of several major inflection points shaping                    H.R.       6074,    Coronavirus   Preparedness        and   Response
public sentiment surrounding the virus in the United States, U.S. equity                   Supplemental Appropriations Act – March 6, 2020: Legislation
market indices experienced their greatest weekly declines since                            enacted that provides $8.3 billion emergency funding for public
October 2008 on fears of the detrimental economic effects of the                           health agencies and coronavirus vaccine research. The bill
continuing spread of the virus. COVID-19 continued to spread across the                    appropriated $7.8 billion in discretionary funding to federal,
U.S. through the latter days of February and early March, compelling                       state, and local health agencies and$500 million in mandatory
declarations of public health emergencies by state governors in affected                   spending through changes to Medicare.
areas. Additionally, the Federal Open Market Committee (the “FOMC”)
                                                                                           H.R. 6201, Families First Coronavirus Response Act – March 18,
cut the benchmark interest rate by fifty basis points on March 3 in an
                                                                                           2020: Legislation enacted that provides $192 billion in funding
effort to support the economy in anticipation of the detrimental effects
                                                                                           through      various components     to those     in    need.   These
of the virus on economic activity.
                                                                                           components include the enhancement of unemployment
                                                                                           insurance benefits, increased federal Medicaid and food-
In another major inflection point, the Centers for Disease Control
                                                                                           security spending, mandates requiring certain employers to
mandated the cancellations and postponements of public and private
                                                                                           provide paid sick, medical, and family leave, and free coverage
events of more than fifty people for at least eight weeks on March 15.
                                                                                           for coronavirus testing under government health programs.
Through the balance of March, state and municipal governments issued
various “stay-at-home” and “shelter-in-place” orders, requiring many                       H.R. 748, Coronavirus Aid, Relief, and Economic Security
businesses deemed “non-essential,” such as restaurants, theaters, and                      (CARES) Act – March 27, 2020: Legislative relief package totaling
small retail, to either close or materially alter operations.           Major              approximately $2 trillion to address the near-term economic
market indices continued to fall through the end of March.                For              impact of the virus on American families and businesses. Key
reference, the S&P 500 closed at 2,585 on March 31, down                                   items in the legislation include the following:
approximately 24 percent from its all-time high of 3,386 on February
                                                                                                  -    $500 billion in financial assistance for distressed
19.
                                                                                                       sectors of the economy and sectors deemed critical to
                                                                                                       national security. Approximately $450 billion of this
The outbreak of COVID-19 in the United States and abroad spawned a
                                                                                                       funding supported loans to businesses, states, and
public health crisis and substantial economic disruption for many
                                                                                                       municipalities through a new Federal Reserve lending
American businesses and individuals in 2020. Through the end of the
                                                                                                       facility.
second quarter of 2021, Congress had enacted six separate pieces of
legislation aimed at managing the pandemic and mitigating the                                     -    Approximately $380 billion in economic support for
economic burden placed on families and businesses. These legislative                                   small businesses, which will largely be used for the
actions and the dates on which they were enacted into public law are                                   creation of the Paycheck Protection Program (“the
summarized in the sections below:                                                                      PPP”). The PPP offered loans to small businesses to
                                                                                                       help them avoid laying off workers. The portions of




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                  these loans spent on payroll, rent, or utilities will be                              billion to replenish the PPP), $75 billion in funding for
                  eligible for forgiveness.                                                             hospitals, and approximately $25 billion to fund greater
                                                                                                        COVID-19 testing capacities.
            -     Direct payments to taxpayers on a graduated scale for
                  those earning annual income up to $99,000 ($198,000                                 • Consolidated Appropriations Act – December 27, 2020:
                  for married couples). Taxpayers with annual incomes                                   Legislative package delivering$868 billion of federal support
                  up to$75,000 ($150,000 for married couples) will                                      to mitigate the economic impact of the COVID-19 pandemic.
                  receive payments of $1,200. These payments will                                       Key items in the legislation include the following:
                  gradually phase out up to the annual income cap of
                                                                                                           -   $302 billion in aid to small businesses. Allows
                  $99,000. Families are also eligible to receive $500 per
                                                                                                               businesses to receive a second round of PPP loans and
                  qualifying child. Estimated provision of approximately
                                                                                                               ensures that this assistance will not be taxed.
                  $290 billion.
                                                                                                           -   Direct payments to individuals earning up to $75,000.
            -     Further       expansion        of        unemployment      benefits,
                                                                                                               Taxpayers with annual incomes up to $75,000 will
                  extending unemployment insurance by thirteen weeks,
                                                                                                               receive a payment of $600, with an additional $600 for
                  boosting benefits by up to $600 per week for four
                                                                                                               each dependent child.
                  months,       and expanding              eligibility   requirements.
                  Estimated cost is approximately $270 billion.                                            -   Increased unemployment benefits of $119 billion. Adds
                                                                                                               $300 more per week to unemployment benefits,
            -     Direct federal aid to hospital and healthcare workers
                                                                                                               continues “gig” worker eligibility for unemployment,
                  of approximately $150 billion. This funding was
                                                                                                               and lengthens the maximum amount of time a worker
                  provided to help hospitals, community health centers,
                                                                                                               can receive unemployment benefits to 50 weeks.
                  and other healthcare providers prepare for and
                  respond to the pandemic.                                                                 -   Aid for schools of $82 billion. This funding provides
                                                                                                               grants primarily to public K-12 schools, with a portion
            -     § Various tax incentives, including provisions allowing
                                                                                                               set aside for grants directed to higher education.
                  businesses to defer payroll taxes, which act as key
                  sources of funding for Medicare and Social Security.                                     -   Health specific measures of $78 billion. Included is $29
                  Another key provision allowed individual taxpayers to                                        billion for the procurement and distribution of
                  use     business      losses in          recent   years to    offset                         coronavirus vaccines and $22 billion for testing,
                  nonbusiness income.                                                                          tracing, and mitigation of coronavirus.

     • H.R. 266, Paycheck Protection Program and Health Care                                               -   Other measures of $123 billion. The legislation also
       Enhancement Act – April 24, 2020: Bill providing an additional                                          includes funding for transportation, increased food
       $383 billion in economic support for small businesses ($321                                             stamp benefits, additional rental assistance, and other
                                                                                                               programs.




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Inflation                                                                                   stagnant, keeping U.S. crude oil prices around $40 per barrel for much
                                                                                            of the quarter. U.S. crude oil prices ended the third quarter at just
According to the Bureau of Labor Statistics (“BLS”), the Consumer Price
                                                                                            below $40 per barrel, down from a peak of just above $43 per barrel in
Index (“CPI”) increased 0.4 percent in September 2021 (on a seasonally
                                                                                            late August.     Brent crude futures also closed the quarter at
adjusted basis) after increasing 0.5 percent in July and 0.3 percent in
                                                                                            approximately $42 per barrel and spent most of the quarter in the range
August. The unadjusted CPI stood at 274.31 (CPI-U all urban consumers,
                                                                                            of $40 to $43 per barrel. Oil prices ended the year with momentum,
1982-1984 = 100), an increase of 5.4 percent over the previous twelve
                                                                                            though global benchmarks still posted losses for the whole of 2020.
months.        The Core CPI, which excludes food and energy prices,
increased 0.2 percent in September, and Core CPI increased 4.0 percent                      In the first quarter of 2021, oil prices gained approximately 20 percent.
on an unadjusted basis over the previous twelve months.                                     Aiding the gain in oil prices in the first quarter were a surprise
                                                                                            announcement of production cuts by OPEC and extreme weather in
The Producer Price Index (“PPI”) is generally recognized as predictive
                                                                                            Texas, which boosted demand for fuel and power and threatened
of near-term consumer inflation.                   The PPI for total final demand
                                                                                            production. Pricing gains were tempered by a spike in COVID-19 cases
(seasonally adjusted) increased 0.5 percent in September 2021
                                                                                            in Europe and renewed lockdowns, which hampered demand in global
following increases of 1.0 percent and 0.7 percent in July and August,
                                                                                            oil markets. Brent crude oil closed the second quarter of 2021 at $76.94
respectively. The PPI for final demand excluding food, energy, and
                                                                                            per barrel, a 16 percent increase from the closing price at the end of
trade services increased 0.1 percent in September. On an unadjusted
                                                                                            the first quarter. WTI closed the second quarter at $73.52 per barrel,
basis, the twelve-month change in the total final demand PPI was an
                                                                                            a 24 percent increase from the end of the first quarter.            Both
increase of 8.6 percent through September 2021, which is the largest
                                                                                            benchmarks closed the quarter slightly below highs reached in 2018 on
advance since 12-month data were first calculated in November 2010.
                                                                                            declining oil inventories both in the U.S. and globally.      Consumer
The increase in the PPI was below projections made by economists
                                                                                            demand for energy products continued to recover in the second quarter
surveyed by Reuters, which forecasted an increase of 0.6 percent in the
                                                                                            with the ongoing loosening of travel restrictions domestically and
PPI in September.
                                                                                            abroad.
Oil and Gasoline
                                                                                            Oil benchmarks rose again in the third quarter of 2021, as the spot price
In the first quarter of 2020, oil prices fell dramatically as the travel                    for Brent crude oil closed the quarter at $77.81 per barrel and WTI
restrictions due to the ongoing coronavirus pandemic depressed demand                       closed the quarter at $75.22 per barrel. Brent was up 1.1 percent over
for oil. U.S. crude futures closed the quarter trading at $20.48 per                        its second quarter close, and WTI was up 2.3 percent. Demand for oil
barrel, down 66 percent over the course of the first quarter. Oil prices                    in the third quarter continued to recover at an increasing pace, as
recovered in the second quarter of 2020, bolstered by the return of                         vaccine rollouts in developed countries continued to aid consumer and
demand for fuel following the loosening of lockdown restrictions in the                     overall economic activity in a pattern seen in the first two quarter of
U.S., a slide in domestic production in the U.S., and an agreement                          2021 as well. The pace of the recovery in demand was hampered in the
between OPEC members reached in early April to cut output. In the                           third quarter by the rapid rise in prices seen over the course of 2021.
third quarter of 2020, demand for gasoline in the U.S. was relatively                       Oil supply volume in the third quarter was impacted by a deal among




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OPEC+ producers (OPEC members and Russia) that would raise                           Personal consumption spending represents approximately 70 percent of
production by 400,000 barrels a month from August 2021 through                       total economic activity and is a primary component of overall economic
December 2021. In September, the volume of oil supplies worldwide                    growth. Real personal consumption spending increased 1.6 percent in
was 97 million barrels per day, which was approximately 2.5 million less             the third quarter of 2021 following increases of 11.4 percent and 12.0
than global demand. Due to the impacts of Hurricane Ida on the U.S.                  percent in the first quarter and second quarters, respectively.
Gulf Coast in late August and early September, 1.7 million barrels per               According to the BEA, durable goods purchases decreased 26.2 percent
day of U.S. production was suspended, contributing to the global supply              in the third quarter of 2021 following increases of 50.0 percent and 11.6
imbalance in the third quarter.                                                      percent in the first and second quarters, respectively.

The Baker Hughes North American (U.S.) total oil rig count increased
                                                                                     The Financial Markets
11.2 percent in the third quarter of 2021 after increasing 10.0 percent
during the second quarter. The total rig count was up 98.5 percent over
                                                                                     The Dow Jones Industrial Average, NASDAQ, and broad market Wilshire
the last twelve months ended September 30, 2021. Brent crude oil,
                                                                                     5000 posted slight losses in the third quarter of 2021, while the S&P 500
which is the global benchmark for oil prices, traded at an average of
                                                                                     remained essentially unchanged (0.23 percent gain). The indices all
$74 per barrel in September 2021, which is $34 per barrel higher than
                                                                                     posted month-over-month gains in July and August before retreating in
the average for September 2020. The U.S. Energy Information
                                                                                     September. During the third quarter, investors anticipated slower gains
Administration (“EIA”) expects crude oil prices to average $81 per
                                                                                     and more persistent volatility in markets based on a number of factors.
barrel in the fourth quarter of 2021 and $72 per barrel in 2022. The EIA
                                                                                     Among these factors were signals by the Federal Reserve and other
estimates that U.S. crude oil production in 2021 will average 11.0
                                                                                     global central banks that pandemic-era stimulus measures may be
million barrels per day, with production rising in 2022 to 11.7 million
                                                                                     coming to an end. Chinese property giant Evergrande Group skipped an
barrels per day.
                                                                                     $83.5 million interest payment in late September, sending shockwaves
Retail Sales and Personal Consumption                                                throughout the global financial community surrounding the prospect of
                                                                                     a potential contagion event if Evergrande were to default on its massive
According to the Census Bureau of the U.S. Department of Commerce,                   amount of debt. Further, Congress remained embroiled in a battle
the advance estimates of U.S. retail and foodservice sales (adjusted for             during   September    over   the   Democrats’    proposed    $1   trillion
seasonal, holiday, and trading-day differences) for September 2021                   infrastructure bill, progress on which was further impeded by a separate
increased 0.7 percent from the previous month and 13.9 percent                       social policy and climate package proposed by Democrats. These and
relative to September 2020. Core retail and foodservice sales (which                 other points of contention and uncertainty caused investor sentiment
exclude motor vehicles and parts) increased 0.8 percent relative to the              to wane in September, leading to the quarterly losses. During the third
previous month and increased 15.6 percent relative to September 2020.                quarter, the Dow Jones Industrial Average dropped 1.9 percent from its
In the third quarter of 2021, retail and foodservice sales decreased 0.7             second quarter close, the S&P 500 gained 0.2 percent, the NASDAQ
percent relative to the second quarter and were 14.9 percent above the               dropped 0.4 percent, and the broad market Wilshire 5000 Index dropped
level observed in the third quarter of 2020.                                         0.6 percent.




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The following provides a brief summary of each index’s performance in                 display an inverse relationship with their respective yields and rise as
the third quarter of 2021:                                                            yields fall. Additionally, bond prices can shift abruptly due to investor
                                                                                      reactions to major variances in reported economic data versus market
            The Dow Jones Industrial Average ended the third quarter of               expectations (e.g., expected inflation, growth, monetary policy, and
            2021 at 33,844. This represents a 1.9 percent decline for the             other Federal Reserve actions). Yields rallied to close the third quarter,
            quarter, following increases of 4.6 percent in the second                 bolstered not only by the FOMC news, but also by continued business
            quarter and 7.8 percent in the first quarter. The Dow was up              reopenings, improving consumer demand, and falling coronavirus cases
            7.3 percent over the entirety of 2020 after increasing 22.3               in the U.S. Still, over the course of the third quarter, monthly average
            percent in 2019.                                                          yields on 10-year Treasury notes fell 15 basis points from the end of
                                                                                      June to the end of September. The 10-year Treasury note closed the
            The S&P 500 Index ended the third quarter of 2021 at 4,308.               quarter at a monthly average yield of 1.37 percent in September. The
            This represents a 0.2 percent increase for the quarter,                   spread between the 2-year and 10-year Treasury note yields narrowed
            following increases of 8.2 percent in the second quarter and              to 113 basis points, down from 132 basis points at the end of the second
            5.8 percent in the first quarter. The S&P 500 posted a gain of            quarter. Investors generally view the slope of the yield curve as an
            16.3 percent in 2020 after posting a gain of 28.9 percent in              indicator of the direction of the economy. Steeper upwardly sloped
            2019.                                                                     yield curves imply higher inflation and greater future economic growth.
                                                                                      The yield curve flattened slightly in the third quarter, as seen in the
            The NASDAQ Composite Index ended the third quarter of 2021
                                                                                      narrowing between the yields on 2-year and 10-year Treasury notes.
            at 14,449.        This represents a 0.4 percent decline for the
            quarter, following increases of 9.5 percent in the second                 Economists surveyed by The Wall Street Journal anticipate yields to
            quarter and 2.8 percent in the first quarter. During 2020, the            increase marginally through the end of 2021 (10-year note yield of 1.69
            NASDAQ rose by 43.6 percent after rising 35.2 percent in 2019.            percent in December of 2021), before recovering towards levels seen in
                                                                                      2019 in the coming years (10-year note yield of 1.94 percent in June
            The broad market Wilshire 5000 Index ended the third quarter
                                                                                      2022 and 2.15 percent by December of 2022).
            of 2021 at 44,850. This represents a 0.6 percent decline for
            the quarter, following increases of 8.1 percent in the second             Monetary Policy and Interest Rates
            quarter and 5.8 percent in the first quarter. The Wilshire 5000
            index was up 27.7 percent in 2019 and up 20.0 percent in 2020.            During the first quarter of 2018, Jerome “Jay” Powell was named
                                                                                      Chairman of the Federal Reserve, replacing Janet Yellen.          Despite
Treasury yields were generally stagnant during the third quarter of                   pressure and rhetoric from former President Trump aimed at keeping
2021, though yields on longer maturity instruments increased in                       the target rate stagnant, the FOMC raised the target rate four times
September on the FOMC’s signaling that it could begin to taper monthly                over the course of 2018, ending the year in a range of 2.25 percent to
bond purchases in November and raise rates in 2022.            Bond prices            2.50 percent. After leaving rates unchanged through the first half of




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2019, the rate cuts alluded to in previous meetings by Fed officials                     lend freely under the PPP program and remove these non-
materialized in the third quarter of 2019, as eight of ten Fed officials                 performing loans from bank balance sheets.
voted to lower the benchmark rate by a quarter-percentage point to a
                                                                                         Main Street Businesses Lending Program, which will purchase
range between 2.00 percent and 2.25 percent at the July meeting of
                                                                                         $600 billion in debt from businesses employing less than 10,000
the FOMC and again at the September meeting, leaving the benchmark
                                                                                         workers or having fewer than $2.5 billion in revenues. Any
rate at a range between 1.75 percent and 2.00 percent at the end of
                                                                                         required payments on these loans will be deferred for a year.
the third quarter. FOMC officials would vote to lower rates once more
in October, dropping the benchmark rate to a range of 1.50 percent to                    Municipal Liquidity Facility, which will purchase $500 billion in
1.75 percent at year-end 2019.                                                           debt from states and cities with populations over 1 million.

                                                                                     In addition, the Fed announced the expansion of the Primary and
On March 3, 2020, the Federal Reserve executed an unscheduled rate
                                                                                     Secondary Corporate Market Credit Facilities and the Term Asset-
cut of one-half of a percentage point, reducing the federal-funds rate
                                                                                     Backed Securities Loan Facility to support up to $750 billion in credit
to a range between 1 percent and 1.25 percent. This was the first-rate
                                                                                     purchases.
change made in between scheduled FOMC meetings since the financial
crisis of 2008, as the Fed moved to prevent a pullback in credit                     During FOMC meetings in the third quarter of 2020, the Fed reiterated
availability that could amplify a slowdown in U.S. growth caused by the              its commitment to support the economy through aggressive monetary
COVID-19 pandemic. The Fed instituted another emergency rate cut on                  policy. Though no new policy steps or programs were announced during
March 15, cutting the benchmark interest rate by an additional 100 basis             the third quarter, the FOMC voted to leave rates unchanged in a range
points to a range of 0 percent to 0.25 percent. This was the second                  between 0 percent and 0.25 percent at its July and September
emergency rate cut in as many weeks, an unprecedented action by the                  meetings. New language from the FOMC signaled a shift away from the
FOMC. In addition, the Fed announced that it would buy $700 billion in               Fed’s longtime strategy of pre-emptively lifting rates to head off higher
Treasury and mortgage-backed securities in response to the COVID-19                  inflation. To summarize, the FOMC will now wait for inflation to
pandemic.                                                                            increase above 2 percent for several periods before considering raising
                                                                                     the benchmark rate, a goal termed as “symmetric inflation targeting.”
With interest rates cut virtually to zero, the Fed relied on new lending
                                                                                     The FOMC had previously used the benchmark rate as a mechanism to
programs in the second quarter of 2020 to stimulate the U.S. economy.
                                                                                     keep inflation low. The FOMC met in November and December during
On April 9, the Fed announced three new emergency lending facilities
                                                                                     the fourth quarter of 2020. While no new policy was enacted during
to implement the relief provided by the CARES Act and support the work
                                                                                     these meetings, the Fed did clarify its plan for long-term support for
of the Treasury Department and the Small Business Administration.
                                                                                     the economy in an FOMC statement following the December meeting.
These new lending facilities included the following:
                                                                                     The FOMC met in January and March 2021 and at both meetings pledged
                                                                                     to keep its current expansionary monetary policies in place until the
      Paycheck Protection Program Lending Facility, which will
                                                                                     U.S. economy fully recovers from the effects of the COVID-19 pandemic.
      purchase PPP loans from banks, allowing banks to continue to




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Of note, Fed officials did signal at the March meeting that they expect              inflation having run persistently below 2 percent, we will aim to
the economy to recover more quickly than previously thought according                achieve inflation moderately above 2 percent for some time so that
to new projections released in conjunction with the March meeting.                   inflation averages 2 percent over time and longer-term inflation
Despite this expectation, only seven of the eighteen members of the                  expectations remain well anchored at 2 percent…. As is evident in the
FOMC anticipate raising rates in 2022 or 2023, which is up from five                 SEP, many participants forecast that these favorable economic
members in December 2020.                                                            conditions will be met somewhat sooner than previously projected; the
                                                                                     median projection for the appropriate level of the federal funds rate
During the second quarter of 2021, the FOMC met in April and June. At                now lies above the effective lower bound in 2023. Of course, these
the April 28 meeting, Fed officials voted unanimously to maintain the                projections do not represent a Committee decision or plan, and no one
central bank’s current policies as the economy continues to mend from                knows with any certainty where the economy will be a couple of years
the effects of the pandemic. In a statement following the April meeting,             from now. More important than any forecast is the fact that, whenever
Fed officials commented on the ongoing recovery and rising inflation in              liftoff comes, policy will remain highly accommodative. Reaching the
2021: “Amid progress on vaccinations and strong policy support,                      conditions for liftoff will mainly signal that the recovery is strong and
indicators of economic activity and employment have strengthened.                    no longer requires holding rates near zero.
The sectors most adversely affected by the pandemic remain weak but
have shown improvement. Inflation has risen, largely reflecting
transitory factors.” The FOMC met again in June, where committee
members and Chairman Powell changed their tone in regard to the                      Summary and Outlook
timing of interest rate increases. FOMC officials signaled that they
expected to raise interest rates by late 2023 after the June meeting,                The COVID-19 pandemic adversely affected nearly every facet of the
which is earlier than they had anticipated following previous meetings               U.S. economy during 2020, but the economy continued to show signs of
in 2021. Fed officials also indicated that they expected an eventual                 stabilizing in the fourth quarter of the year and the first half of 2021.
tapering of the central bank’s bond-buying program, though the timing                This trend continued into the third quarter of 2021. The unadjusted CPI
of this winding down remained uncertain. Chairman Powell stated that                 increased 0.4 percent in September 2021 and increased 5.4 percent
many Fed officials believe that the economy will reach the Fed’s goals               from September 2020 to September 2021.          Core CPI increased 0.2
of “maximum employment” and sustained inflation at 2 percent sooner                  percent in September 2021 and 4.0 percent over the prior twelve
than previously anticipated in his statement following the June                      months.
meeting, excerpts of which can be found below:
                                                                                     The Dow Jones Industrial Average, NASDAQ, and broad market Wilshire
The Fed’s policy actions have been guided by our mandate to promote                  5000 posted slight losses in the third quarter of 2021, while the S&P 500
maximum employment and stable prices for the American people,                        remained essentially unchanged. The indices all posted month-over-
along with our responsibilities to promote the stability of the financial            month gains in July and August before falling back in September.
system. As the Committee reiterated in today’s policy statement, with                Investors anticipated slower gains and more persistent volatility in




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markets based on a number of factors including global central banks’                              INDUSTRY OVERVIEW
perceived willingness to wind down pandemic induced stimulus
                                                                                                  Stock & Commodity Exchanges in the US 6
programs.

                                                                                                  INDUSTRY DEFINITION
Prior to the disruption caused by the pandemic, the unemployment rate
had remained stable for several months in the range of 3.5 percent to
                                                                                                  This industry is composed of financial intermediaries that provide
4.0 percent, continually nearing all-time lows. The unemployment rate
                                                                                                  physical trading floors or electronic marketplaces where buyers and
was 4.8 percent in September 2021.                         The unemployment rate has
                                                                                                  sellers arrange trades in securities, commodities and related contracts.
consistently fallen month-over-month since peaking at 14.7 percent in
                                                                                                  This report includes a discussion of exchanges and alternative trading
April 2020. Labor force participation remains low relative to historic
                                                                                                  systems, as well as broker-dealers that match trades of securities in off-
levels at 61.6 percent.
                                                                                                  exchange transactions. It excludes a discussion of the trading of debt
Following the deep contraction in GDP in the second quarter of 2020                               securities, currencies, real assets and physical commodities.
and subsequent rebounds in GDP in the past four quarters, economists
                                                                                                  EXECUTIVE SUMMARY
expect the recovery to continue in future quarters. A survey of
economists conducted by The Wall Street Journal reflects an average
                                                                                                  The Stock and Commodity Exchanges industry has remained a vital part
GDP forecast of 7.0 percent annualized growth in the third quarter of
                                                                                                  of the Finance and Insurance sector (IBISWorld report 52), especially as
2021, followed by 5.4 percent annualized growth in the fourth quarter.
                                                                                                  trade volumes have increased over the five years to 2021. Industry
GDP declined 3.4 percent in 2020 compared to annual GDP growth of
                                                                                                  operators act as intermediaries and provide physical trading floors or
2.3 percent and 2.9 percent in 2019 and 2018, respectively. Economists
                                                                                                  electronic marketplaces where buyers and sellers arrange trades in
anticipate an annualized growth in GDP of 5.2 percent for the whole of
                                                                                                  securities, commodities and related contracts. Exchanges facilitate the
2021.
                                                                                                  transfer of assets between market participants in different locations
                                                                                                  and with various timeframes.


                                                                                                  Total trade volumes have increased over the five years to 2021, which
                                                                                                  has helped industry revenue grow during the period. For example, the
                                                                                                  daily trade volume processed by the Intercontinental Exchange Inc.
                                                                                                  (ICE) has increased an annualized 9.5 percent over the five years to
                                                                                                  2021. This has enabled industry operators to generate more in
                                                                                                  transaction and clearing fees, which is the largest source of revenue for



6 IBISWorld: Stock & Commodity Exchanges in the US Report 52321, December 2021.




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